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                                                                                                          United States Bankruptcy Court
                                                                                                               Southern District of Texas

                                                                                                                  ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                                    July 26, 2021
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                                 Nathan Ochsner, Clerk
                                     HOUSTON DIVISION
IN RE:                                                               CHAPTER 11
LIMETREE BAY SERVICES, LLC, et al., 1                                CASE NO.: 21-32351
            Debtors.

LIMETREE BAY REFINING, LLC                                           Adv. Pro. __21-3791______
                             Plaintiff,

         v.

BEECHER COTTON, PAMELA COLON,
SIRDINA ISAAC-JOSEPH, ESTHER
CLIFFORD, SYLVIA BROWNE, ALVINA
JEAN-MARIE ILARRAZA, FRANCIS E.
CHARLES, THERESA J. CHARLES, HELEN
SHIRLEY, ANISHA HENDRICKS, CRISTEL
RODRIGUEZ, JOSIE BARNES, ARLEEN
MILLER, ROSALBA ESTEVEZ, ISIDORE
JULES, JOHN SONSON, VIRGINIE
GEORGE, CLIFFORD BOYNES,
CHRISTOPHER CHRISTIAN, MARGARET
THOMPSON, DELIA ALMESTICA, CARLOS
CHRISTIAN, ANNA REXACH-
CONSTANTINE, MERVYN CONSTANTINE,
NEAL DAVIS, EDNA SANTIAGO,
GUIDRYCIA WELLS, O’SHAY WELLS,
AARON G. MAYNARD, VERNE MCSWEEN,
ROCHELLE GOMEZ, MYRNA MATHURIN,
JOAN MATHURIN, LEOBA JOHN
BAPTISTE, WARRINGTON CHAPMAN,
AND ANNE MARIE JOHN BAPTISTE

                             Defendants.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.
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                   ORDER EXTENDING THE AUTOMATIC
     STAY AND GRANTING PRELIMINARY INJUNCTIVE RELIEF, HALTING THE
    PROSECUTION OF THE CLASS ACTION AGAINST DEBTOR AND NON-DEBTOR
       DEFENDANTS FOR 14 DAYS IN THE VIRGIN ISLANDS CLASS ACTIONS
                                            (Docket No. 2)

         Upon the motion (the “Motion”)2 of the Limetree Bay Refining, LLC, for entry of an

order (this “Order”) confirming that the automatic stay prohibits the prosecution of four class

actions filed against the Debtor, and extending the automatic stay or, in the alternative, granting a

temporary restraining order and preliminary injunction relief to halt the prosecution of the four

class actions against non-debtor defendants for a period of 60 days, all as more fully set forth in

the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; and that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtor’s estates, their creditors, and

other parties in interest; and this Court having found that the notice of the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion; and this Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and upon all of the proceedings

had before this Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:




2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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         1.           Pursuant to section 362 of the Bankruptcy Code, the automatic stay of the

Bankruptcy Code prohibits the prosecution of the Class Actions against the Debtor.

         2.           Pursuant to section 362 of the Bankruptcy Code, the automatic stay of the

Bankruptcy Code is hereby extended to the Non-Debtor Defendants for 14 days from the date of

entry of this Order.

         3.           In the alternative, the Class Action Plaintiffs and anyone acting on their

behalf are hereby enjoined from continuing the Class Actions against the Non-Debtor

Defendants and from continuing to prosecute its claims brought in the Class Action against any

of the Defendants therein for 14 days from the date of entry of this order.

         4.           This Order shall remain in full force and effect until further order of this

Court.

         5.           Pursuant to Bankruptcy Rule 7065, the security requirements shall be waived.

         6.           Notwithstanding any provision to the contrary of the Bankruptcy Code, the

Federal Rules of Bankruptcy Procedure, or the Bankruptcy Local Rules, this Order shall take

immediate effect upon signature.

         7.           The Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.

      8.         In granting temporary relief, the Court finds that the movants have satisfied the
requirements of Fed. R. Civ. P. 65(b) as made applicable by Bankruptcy Rule 7065. Specifically, the Court
finds that a temporary halt of the proceedings is required in light of the nature of the Debtors' businesses,
the real potential for additional negative environmental impact; the lack of liquidity to address the myriad of
environmental issues facing the debtor and the absence of any real harm to the defendants.

     9.     The Court will conduct a video hearing to consider whether additional relief should be granted
on August 6, 2021 at 10:30 a.m. (Central time). Responses are due by 12:00 noon (Central time) on August
3, 2021. The movants shall immediately serve a copy of this Order on each defendant and counsel if
known and file a copy with the V.I. District Court.

          Signed: July 26, 2021.
                                                                                                     3:04 p.m.
                                                 ____________________________________                (Central)
                                                 DAVID R. JONES
                                                    3 STATES BANKRUPTCY JUDGE
                                                 UNITED
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